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                     IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

KERRY LAW and ARNOLD ZUEHLKE, )
on behalf of themselves and all others )
similarly situated,                    )
                                       )
                      Plaintiffs,      )   Case No. 04-728-KI
                                       )   (lead case)
        vs.                            )
                                       )   OPINION AND ORDER
NORTHWEST NATURAL GAS                  )
COMPANY, NORTHWEST NATURAL )
GAS COMPANY RETIREMENT PLAN )
FOR BARGAINING UNIT EMPLOYEES )
and NORTHWEST NATURAL GAS              )
COMPANY FOR NON-BARGAINING             )
UNIT EMPLOYEES,                        )
                                       )
                      Defendants.      )
                                       )
and                                    )
                                       )
IKE WHITTLESEY, MARK PARRISH,          )   Case No. 05-241-KI
JOHN J. SHOOTER, ROGER                 )   (consolidated case)
WHITTLESEY, and PHILIP COURTNEY, )
                                       )
                      Plaintiffs,      )
                                       )
        vs.                            )

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NORTHWEST NATURAL GAS         )
COMPANY, NORTHWEST NATURAL    )
GAS COMPANY RETIREMENT PLAN   )
FOR BARGAINING UNIT EMPLOYEES )
and NORTHWEST NATURAL GAS     )
COMPANY FOR NON-BARGAINING    )
UNIT EMPLOYEES,               )
                              )
                Defendants.   )
                              )
KEN HOLTMANN and JEFFREY CARL )          Case No. 05-724-KI
O'NEAL,                       )          (consolidated case)
                              )
                Plaintiffs,   )
                              )
      vs.                     )
                              )
NORTHWEST NATURAL GAS         )
COMPANY, NORTHWEST NATURAL )
GAS COMPANY RETIREMENT PLAN )
FOR BARGAINING UNIT EMPLOYEES )
and NORTHWEST NATURAL GAS     )
COMPANY FOR NON-BARGAINING    )
UNIT EMPLOYEES,               )
                              )
                Defendants.   )
                              )
LARRY LUETHE,                 )
                              )          Case No. 06-98-KI
                Plaintiff,    )          (consolidated case)
                              )
      vs.                     )
                              )
NORTHWEST NATURAL GAS         )
COMPANY, NORTHWEST NATURAL )
GAS COMPANY RETIREMENT PLAN )
FOR BARGAINING UNIT EMPLOYEES )
and NORTHWEST NATURAL GAS     )
COMPANY FOR NON-BARGAINING    )
UNIT EMPLOYEES,               )
                              )
                Defendants.   )
                              )



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KING, Judge:

       In these consolidated cases, plaintiffs Kerry Law, Arnold Zuehlke, Ken Holtmann, Jeffrey

Carl O’Neal, Ike Whittlesey, C.G. Nick Courtney, Mark Parrish, John J. Shooter,1 Roger

Whittlesey, and Philip Courtney,2 all backhoe operators, bring claims arising out of Northwest

Natural Gas Company’s (“NWN”) classification of them as independent contractors. In their

first and second claims for relief, they allege that NWN deprived them of overtime pay in

violation of the Fair Labor Standards Act and Oregon Failure to Pay Overtime laws. In their

third claim for relief, they allege NWN violated the duty of good faith and fair dealing implicit in


       1
       All complaints prior to the Third Amended Complaint referred to this plaintiff as John
V. Shooter.
       2
       All complaints prior to the Third Amended Complaint referred to this plaintiff as Phillip
Courtney.

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the employment contract between plaintiffs and the company. Finally, they allege NWN, and the

company’s pension plans, violated the Employee Retirement Income Security Act (“ERISA”) in

denying plaintiffs their retirement benefits. Before me are defendants' Motion to Dismiss (#128)

the third claim, and Motion for Partial Summary Judgment (#136) on the third and fourth claims.

                                         BACKGROUND

I.     Procedural Background

       On October 18, 2005, I issued an Opinion and Order finding plaintiffs’ claim for breach

of contract was preempted by ERISA. I stayed the case for exhaustion of administrative

remedies, but allowed limited discovery. On December 12, 2006, I held a status conference at

which the parties agreed all administrative remedies had been exhausted; plaintiffs’ claims for

benefits had been denied.

       I permitted plaintiffs to file a Third Amended Complaint, which they did on February 2,

2007. In their Third Amended Complaint, plaintiffs added NWN’s pension plans as defendants

on their fourth claim for relief: Northwest Natural Gas Company Retirement Plan for Bargaining

Unit Employees (“BU Plan”) and Northwest Natural Gas Company Retirement Plan for Non-

Bargaining Unit Employees (“NBU Plan”) (collectively, “the Plans”).

II.    Factual Background

       The ten plaintiffs in these consolidated cases provided backhoe services to NWN in

connection with repair and installation of gas lines. Plaintiffs typically worked at least 40 hours a

week, and some weeks more than 40 hours. Luethe, the first plaintiff to begin working for

NWN, began working for the company in 1967. John Shooter, the last plaintiff to begin working

for the company, started in 1993.

       Plaintiffs allege that NWN directed the hours and location of the work to be performed,

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told plaintiffs when to start and when to stop working, directed the type of work to be performed

by plaintiffs, set uniform, non-negotiable rates of pay, required attendance at staff meetings,

retained the right to terminate, and prohibited the subcontracting of work in the event of illness.

Plaintiffs worked solely or almost solely for NWN. Plaintiffs provided their own backhoes,

dump trucks, and trailers.

       Plaintiffs signed an agreement in 1994 requiring each plaintiff to maintain independent

contractor status and to notify NWN if the status changed. All but four of the plaintiffs had been

working for NWN between thirteen and twenty-seven years prior to being asked to sign the

agreement.

       Plaintiffs Law and Zuehlke each applied for and received unemployment after NWN

terminated their work.

       NWN sponsors and maintains the BU Plan and the NBU Plan. The Plans are intended to

be qualified retirement plans under Section 401(a) of the Internal Revenue Code and are

employee pension benefit plans under Section 3 of ERISA. Beginning January 1, 2004, both

Plans excluded any individuals whom NWN did not classify as an employee and any person

whose compensation NWN did not report on a W-2 form. Before January 1, 2004, both Plans

excluded employees who were paid a “fee under contract.” The BU Plan also requires that an

employee be covered by the Joint Accord, which is the collective bargaining agreement between

NWN and the Office and Professional Employees International Union Local 11 (“OPEIU”). The

Joint Accord gives covered employees employment-related rights, including: employment

security, guaranteed wage rates and increases, paid vacation and disability leave, and health

insurance coverage.

       Plaintiffs filed claims for benefits under both the BU Plan and the NBU Plan. The

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administrator denied the claims on the basis that (1) NWN classified plaintiffs as independent

contractors and did not report their pay on a W-2 form; (2) plaintiffs were paid a “fee under

contract,” and (3) plaintiffs were not covered by the Joint Accord. Plaintiffs appealed those

denials on April 14, 2006. On October 20, 2006, the Review Committee denied benefits on the

basis that (1) the preponderance of the evidence indicated that plaintiffs were not common law

employees of NWN, (2) the Plans’ language excluded plaintiffs from participation even if they

were common law employees, (3) plaintiffs were not eligible under the BU Plan because they

were not covered by the Joint Accord, and (4) the claims were barred by the six-year statute of

limitations.

                                     LEGAL STANDARDS

       Summary judgment is appropriate when there is no genuine issue as to any material fact

and the moving party is entitled to a judgment as a matter of law. Fed. R. Civ. P. 56(c). The

initial burden is on the moving party to point out the absence of any genuine issue of material

fact. Once the initial burden is satisfied, the burden shifts to the opponent to demonstrate

through the production of probative evidence that there remains an issue of fact to be tried.

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). On a motion for summary judgment, the

evidence is viewed in the light most favorable to the nonmoving party. Universal Health

Services, Inc. v. Thompson, 363 F.3d 1013, 1019 (9th Cir. 2004).

                                          DISCUSSION

I.     Plaintiffs’ Breach of Contract Claim

       NWN moves for summary judgment on plaintiffs’ breach of contract claim.3 The


       3
        NWN filed both a motion to dismiss and a motion for summary judgment on plaintiffs’
breach of contract claim, making the same arguments in each motion. I will resolve the issue on

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company argues that plaintiffs have failed to state a claim, that the claim is preempted by ERISA,

is preempted by the Labor Management Relations Act, is within the jurisdiction of the National

Labor Relations Board, and falls outside the applicable six-year statute of limitations. I need not

reach the latter three arguments because I conclude plaintiffs have failed to state a claim for

breach of contract, and that plaintiffs’ claim is preempted by ERISA.

       The claim at issue reads, in pertinent part:

       Breach of Contract

       22.     The contracts between NWNG and each of the Plaintiffs are subject to the
               covenant of good faith and fair dealing implied in all Oregon contracts.
               NWNG deliberately classified Plaintiffs as independent contractors despite
               the fact that NWNG was aware Plaintiffs were employees under state and
               federal law. Plaintiffs should have been entitled to the compensation,
               rights and benefits conferred upon NWNG employees. NWNG’s
               exclusion of plaintiffs from these programs, accords, agreements, and
               plans, including the Retirement Plan, and the compensation, rights and
               benefits conferred upon its employees constituted a breach of the covenant
               of good faith and fair dealing inherent in every contract.

       23.     As a result of NWNG’s breach of contract as alleged herein, plaintiffs
               have been damaged in the following ways, among others: by the value of
               what each of them would have received under NWNG’s Retirement Plan
               had they been properly classified as employees; by amounts paid out of
               pocket by plaintiffs for health insurance and treatment; by the value of
               paid vacation, holidays and sick days; and by amounts paid by them for
               what should have been the employer’s share of FICA taxes. Plaintiffs are
               also entitled to lost wages and benefits from the time NWNG stopped
               utilizing their services in violation of the job protection rights they would
               have had if they were properly classified.

Third Amended Complaint at 7-8.

       Every contract contains an implied duty of good faith. Uptown Heights Associates v.

Seafirst Corp., 320 Or. 638, 645, 891 P.2d 639 (1995). The duty is applied in a manner to



the motion for summary judgment.

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effectuate the objectively reasonable contractual expectations of the parties. The duty of good

faith cannot serve to contradict express contractual terms, even for “an unpleasantly motivated

act that is expressly permitted by contract.” Id. (internal quotation omitted).

        Plaintiffs clarify that the covenant of good faith and fair dealing is implied in their at-will

employment agreements arising from the master-servant relationship. See Sheets v. Knight, 308

Or. 220, 233, 779 P.2d 1000 (1989) (the duty applies to “matters pertaining to ongoing

performance of at-will employment agreements”), abrogated on other grounds, McGanty v.

Staudenraus, 321 Or. 532, 901 P.2d 841 (1995)(en banc).

        Plaintiffs fail to identify the offer, acceptance and consideration that resulted in the

formation of a contract from which the duty of good faith and fair dealing arises. If the

agreement is the at-will employment agreement arising from the working relationship of the

parties, plaintiffs do not provide any evidence that the parties intended NWN to treat plaintiffs as

employees. Wooton v. Viking Distributing Co., Inc., 136 Or App. 56, 59, 899 P.2d 1219 (1995)

(to determine if a contract exists, the court examines “the parties’ objective manifestations of

intent, measured by whether a reasonable person would construe a promise from the words and

acts of the other”).

        Plaintiffs rely on Vizcaino v. Microsoft Corp., 97 F.3d 1187 (9th Cir. 1996) (“Vizcaino

I”), adhered to on rehearing, en banc, 120 F.3d 1006 (9th Cir. 1997) (“Vizcaino II”). The Ninth

Circuit in Vizcaino II concluded that Microsoft offered an Employee Stock Purchase Plan–not

subject to ERISA, but subject to Washington state law–to all employees. The court construed the

eligibility criteria of the plan, which extended benefits to all employees, to be the offer.

Applying the law of the State of Washington, the court found acceptance and consideration in the

employees’ knowledge about the existence of the plan and in their continued work for the

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company. Plaintiffs do not supply any similar legal analysis or factual support for their assertion

that their case is “eerily similar” to Vizcaino II.4

        In addition, NWN points out that each plaintiff signed a contract in 1994 agreeing that he

was an independent contractor. NWN argues that plaintiffs cannot claim a breach of good faith

and fair dealing in classifying plaintiffs the way NWN has because “the duty of good faith and

fair dealing–which serves to effectuate the objectively reasonable expectations of the parties–may

be implied as to a disputed issue only if the parties have not agreed to an express term that

governs that issue.” Gibson v. Douglas County, 197 Or. App. 204, 217, 106 P.3d 151 (2005).

        The court cannot imply the existence of a duty to treat plaintiffs as employees when the

1994 agreement states exactly the opposite–that NWN agreed to treat plaintiffs as independent

contractors.

        Plaintiffs appear to question the validity of the 1994 agreement, arguing that “plaintiffs

were given no choice but to sign a contract of adhesion that falsely stated they were free from the

direction and control of NWN, among other things.” Pls.’ CSF in Response to Defs.’ CSF ¶ 4.

Plaintiffs also assert that, “The ‘agreement’ plaintiffs were each required to sign many years after

most of them had already been working for NWN were illusory, materially false, and

unenforceable as void by public policy, and any requirement in the agreement that plaintiffs

complied with they did they did [sic] so only because NWN required it as a condition of

plaintiffs being able to remain employed by NWN, their main and nearly sole source of income




        4
         At least with respect to the Plans discussed below, and as explained below, plaintiffs do
not qualify for the NBU or BU Plans such that it could be said NWN extended an “offer” to
plaintiffs to participate in the Plans.

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for years.” Pls.’ CSF in Response to Defs.’ CSF ¶¶ 8 and 9.5 Plaintiffs do not cite any case law

supporting their argument that the 1994 agreement is unenforceable, and they do not seek

reformation of the agreement.

       Plaintiffs rely on the following facts to support their assertion that the 1994 agreement is

unenforceable: the plaintiffs had been working for between one year and twenty-seven years

prior to being asked to sign the 1994 agreement, the agreement followed the definition of

independent contractor contained in ORS 670.600, plaintiffs were required to sign the agreement

or risk losing the NWN work, the work arrangements before and after signing the agreement did

not change, the agreement does not contain payment information, plaintiffs worked 40 hours a

week or more for many years, and plaintiffs relied on the NWN work for their livelihood.

       A contract is not unenforceable under Oregon law merely because it is a contract of

adhesion. Chalk v. T-Mobile, CV 06-158-BR, 2006 WL 2599506, * 4 (D. Or. Sept. 7, 2006).

Plaintiffs do not provide evidence of procedural unconscionability in the way the contract was

formed, Vasquez-Lopez v. Beneficial Oregon, Inc., 210 Or. App. 553, 567, 152 P.3d 940 (2007)

(citations omitted) (“deception, compulsion, or lack of genuine consent” factors to consider), nor

do they argue that the terms of the contract are so one-sided as to be substantively

unconscionable.

       As for plaintiffs’ argument of economic duress, plaintiffs must establish: “(1) wrongful

acts or threats; (2) financial distress caused by the wrongful acts or threats, and (3) the absence of

any reasonable alternative to the terms presented by the wrongdoer.” Kreidler v. Taylor, 473 F.



       5
        Plaintiffs should not have made these legal arguments in their Concise Statement of
Facts as that document is limited to “the material facts which are necessary for the Court to
determine the limited issues presented in the motion for summary judgment.” L.R. 56.1(c)(2).

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Supp. 2d 1090, 1096 (D. Or. 2007) (quoting Oregon Bank v. Nautilus Crane & Equip. Corp., 68

Or. App. 131, 142, 683 P.2d 95 (1984)).6 First, I am not convinced NWN’s request that plaintiffs

sign the 1994 agreement or risk losing work was “wrongful.” As the Tenth Circuit remarked,

“[T]he fact of the matter is, while the [workers] complain that the Agreements were presented to

them on a ‘take-it-or-leave-it’ basis, they were free to not ‘take it’ and the [company] could hire

people who would.” Capital Cities/ABC, Inc. v. Ratcliff., 141 F.3d 1405, 1410 (10th Cir. 1998).

Even assuming, however, that what NWN did constitutes wrongful conduct, plaintiffs have not

asserted that they had no other alternative than to sign the contract–for instance, that they could

not obtain backhoe work elsewhere.

       Furthermore, plaintiffs supply no legal argument as to why the 1994 agreement is void as

against public policy. As the Supreme Court explained over a hundred years ago,

       [I]t must not be forgotten that the right of private contract is no small part of the
       liberty of the citizen, and that the usual and most important function of courts of
       justice is rather to maintain and enforce contracts than to enable parties thereto to
       escape from their obligation on the pretext of public policy, unless it clearly
       appear that they contravene public right or the public welfare.

Baltimore & O.S.R. Co. v. Voigt, 176 U.S. 498, 505 (1900).

       Even if the 1994 agreement inaccurately reflects the facts–that plaintiffs, for example,

were free from NWN’s direction and control, when in reality they were not–there is no question

that NWN never intended to treat plaintiffs as employees. Accordingly, for purposes of

determining whether plaintiffs state a claim for breach of the duty of good faith and fair dealing,

a doctrine intended to effectuate the objectively reasonable expectations of the parties, the 1994



       6
        “Whether particular facts are sufficient to constitute a defense of economic duress or
business compulsion is a matter of law for the courts, while the question of whether the facts
alleged actually exist is a matter for the jury.” Kreidler, 473 F. Supp. 2d at 1096.

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agreement is instructive.

        Additionally, to the extent plaintiffs seek “the value” of what each would have received

from a plan governed by ERISA, I reassert the reasoning in my Opinion and Order of October 18,

2005, and find that portion of plaintiffs’ breach of contract claim is preempted by ERISA.

        Plaintiffs fail to state a claim for breach of the covenant of good faith and fair dealing,

and fail to raise a material issue of fact that the 1994 agreement is unenforceable. Additionally,

the portion of plaintiffs’ claim seeking “the value” of ERISA benefits is preempted by ERISA.

Accordingly, NWN is entitled to summary judgment on plaintiffs’ third claim for relief.

II.     Plaintiffs’ ERISA Claim

        NWN and the Plans seek summary judgment on plaintiffs’ fourth claim for relief, in

which plaintiffs allege defendants violated 29 U.S.C. § 1132(a)(1)(B) by denying them benefits

under the Plans. Defendants assert that plaintiffs are not eligible for benefits under the Plans,

that plaintiffs’ claim is barred by the six-year statute of limitations, and that, even were I to reach

the merits, plaintiffs meet the criteria of independent contractors, as opposed to employees. I

decide only the first issue.

        A.      Standard of Review

        ERISA was enacted to promote the interests of employees and their beneficiaries in

employee benefit plans and to protect contractually defined benefits. Firestone Tire and Rubber

Co. v. Bruch, 489 U.S. 101, 113 (1989) (internal quotation and citation omitted). When a denial

of benefits is challenged under ERISA’s 29 U.S.C. § 1132(a)(1)(B), the court’s review of the

administrator’s decision is de novo unless the plan unambiguously confers discretion on the

administrator to determine eligibility for benefits or to construe the terms of the plan. If the plan

confers discretion on the administrator, the court reviews the decision for an abuse of discretion

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and can only set aside the discretionary determination if it is arbitrary and capricious.7

        Both the BU Plan and the NBU Plan give broad discretion to the plan administrator to

interpret the plan language and to make decisions on benefits claims. Pursuant to these

provisions, and the Ninth Circuit cases, defendants argue that the standard of review is abuse of

discretion, and is limited to the record created during the administrative review.

        The Ninth Circuit’s recent decision teaches that the abuse of discretion standard applies

even if the administrator has a conflict of interest. Abatie v. Alta Health & Life Ins., 458 F.3d

955, 967 (9th Cir. 2006) (en banc). Similarly, minor procedural irregularities do not shift the

standard of review from abuse of discretion to de novo. Id. at 972. Rather, pursuant to Abatie,

the court should use the abuse of discretion standard and “tailor its review to all the

circumstances before it,” id. at 968, rendering the conflict of interest and minor procedural

irregularities as factors to consider.

        However, the Ninth Circuit instructed that procedural irregularities may be “so substantial

as to alter the standard of review” from abuse of discretion to de novo. Id. at 971. In order for

the de novo standard to apply, the administrator must have engaged in violations of the

procedural requirements of ERISA that “are so flagrant as to alter the substantive relationship

between the employer and employee, thereby causing the beneficiary substantive harm.” Gatti v.

Reliance Standard Life Ins. Co., 415 F.3d 978, 985 (9th Cir. 2005) (as amended).

        Plaintiffs make a number of arguments suggesting that the denials are subject to de novo

review; among other reasons, they argue this issue is one of law, not fact, because it involves



        7
          The Ninth Circuit has noted that the standards of “arbitrary and capricious” and “abuse
of discretion” differ in name only. Atwood v. Newmont Gold Co., Inc., 45 F.3d 1317, 1321 n.1
(9th Cir. 1995).

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construction of an ERISA provision, that a structural conflict of interest exists, that the fiduciary

was biased and had something to gain from denying benefits to plaintiffs, and that the Review

Committee based its decision on new information without giving plaintiffs an opportunity to

respond.

       I need not decide this issue because even were I to accept plaintiffs’ assertion that a de

novo standard applies, defendants did not violate ERISA.

       B.       Whether Plaintiffs Qualify for Benefits Under the ERISA Plans

       Defendants contend that plaintiffs do not qualify for benefits under the Plans, and argue

that NWN can establish pension plans for some employees and not others. See Hensley v. NW

Permanente PC Retirement Plan & Trust, 258 F.3d 986, 1000 (9th Cir. 2001) (“ERISA

contemplates that there will be plans that do not cover all categories of employees,” citing Shaw

v. Delta Air Lines, Inc., 463 U.S. 85, 91 (1983)), overruled on other grounds by Abatie, 458 F.3d

955; Wolf v. Coca-Cola Co., 200 F.3d 1337, 1340-41 (11th Cir. 2000); Capital Cities/ABC, Inc.,

141 F.3d at 1409 (10th Cir. 1998); MacLachlan v. ExxonMobil Corp., 350 F.3d 472, 482 (5th Cir.

2003). Accordingly, to be entitled to benefits, plaintiffs must prove not only that they are

common law employees, but also that they are eligible under the requirements of the plans.8 As

analyzed below, regardless of the standard of review used, plaintiffs are not eligible for

retirement benefits under the Plans.

                1.     Pre-2004 Plans

       The pre-2004 Plans exclude anyone whose compensation was in the form of a “fee under


       8
        For this reason, I reject plaintiffs’ assertion that I must first determine whether they are
common law employees, and therefore eligible to bring an ERISA claim. Given that the Plans
impose additional eligibility criteria beyond the need to be a common law employee, resolving
the question of plaintiffs’ employment status first would result in an inefficient use of judicial
resources if plaintiffs are ineligible for benefits under the terms of the Plans.
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contract.” More specifically, the plan defines “employee” to mean:

       “Employee” means any person employed by the Company, including an officer,
       who receives a regular stated compensation from the Company other than a
       retirement allowance, pension, retainer or fee under contract, but shall not
       include directors who are not otherwise employed by the Company. To the extent
       required under the Code, “Employee” includes a “leased employee” (as defined in
       Code § 414(n)).

Doolittle Decl., Ex. 1 at 2, Ex. 2 at 2 (emphasis added).

       The Plans denied plaintiffs’ claims on the ground that plaintiffs were paid a fee under

contract, and plaintiffs did not appeal that ruling. Instead, plaintiffs appealed on the basis that

they were common law employees. The Review Committee agreed with the initial decision that

plaintiffs fell within the “fee under contract” exclusion.

       Plaintiffs assert that the “fee under contract” exclusion is “clearly ambiguous in light of

the 2004 Plans amendment to ‘clarify’ the definition of ‘Eligible Employee’ under the Plans to

expressly exclude plaintiffs.” Pls.’ CSF in Response to Defs.’ CSF ¶ 22.9 Plaintiffs do not

explain why the “fee under contract” language is ambiguous, and do not give an alternative

construction. Indeed, they concede that the administrator “has full discretion to interpret” the

“fee under contract” language. Id. They do not claim they meet the eligibility criteria. Indeed,

my review of the record reveals that plaintiffs performed services in return for fees under a

contract; plaintiffs had to submit invoices to NWN, payments were made through NWN’s

Purchasing Department, rather than payroll, and the services were performed pursuant to a

Purchase Order. Accordingly, even under a de novo standard of review, plaintiffs do not qualify




       9
        Again, plaintiffs should not have made this legal argument in their Concise Statement of
Facts as that document is limited to “the material facts which are necessary for the Court to
determine the limited issues presented in the motion for summary judgment.” L.R. 56.1(c)(2).
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for benefits under the pre-2004 Plans.10

               2.      Post-2004 Plans

       After January 1, 2004, the Plans defined an employee “as a person employed by the

Company, who is classified by the Company as a common-law employee and whose

compensation for work performed for the Company is reported by the Company on a Form W-

2.” Doolittle Decl., Ex. 1 at 91; Ex. 2 at 122.

       NWN did not classify plaintiffs as employees, and did not report their compensation on

W-2 forms. Plaintiffs do not dispute these facts. Instead, plaintiffs argue that under the federal

common law definition of employee, applying the factors in Nationwide Mutual Ins. Co. v.

Darden, 503 U.S. 318 (1992), plaintiffs are employees. However, plaintiffs do not argue that this

is the test the Plans were required to use in determining whether plaintiffs were eligible for

benefits under the Plans.

       Rather than using the Darden factors, the Plans considered the following factors in

concluding that plaintiffs were never “classified by the Company as a common-law employee:”

plaintiffs “performed services under a Purchase Order, not as an individual in an employee

relationship with the Company;” plaintiffs “had to submit invoices to obtain payment for services

performed and equipment rental, while hourly Company employees are paid based on time

cards;” plaintiffs were paid “through the Company’s Purchasing Department, based on invoices

submitted, while Company employees are paid through the Company’s Payroll Department;”

payments “were not reported on Form W-2, as would have been the case if the payments were



       10
          During the oral argument, plaintiffs stated that the pre-2004 Plans are inapplicable to
plaintiffs because they were not in effect at the time plaintiffs applied for benefits. However,
plaintiffs imply in a footnote in their memorandum that prior versions of the Plans may be
applicable. Pls.’ Opp. to Defs.’ Mot. for Summ. J. at 18 n.14.
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treated as wages paid to an employee of the Company;” and plaintiffs “signed an Agreement

acknowledging that [plaintiffs] would not take any action to threaten your independent contractor

status.” Doolittle Decl., Ex. 3, Tab 2 at 4.

       Given that NWN may exclude categories of employees from Plan coverage, that plaintiffs

do not dispute that NWN did not classify them as employees, or report their income on W-2

forms, and that plaintiffs do not argue the Plans should have employed the Darden factors in

determining whether plaintiffs were “classified by the Company as common-law employees,”

NWN is entitled to judgment on this claim.

       Plaintiffs do argue, however, that the amendment made to the Plans in 2004, changing the

eligibility language, is impermissibly based on the length of service. ERISA prohibits pension

plans from excluding common law employees on the basis of an age older than 21 or a term of

service longer than one year. Specifically, ERISA reads,

       No pension plan may require, as a condition of participation in the plan, that an
       employee complete a period of service with the employer or employers
       maintaining the plan extending beyond the later of the following dates–(i) the date
       on which the employee attains the age of 21; or (ii) the date on which he
       completes 1 year of service.

29 U.S.C. § 1052(a)(1)(A).

       Plaintiffs assert that NWN changed the plan to avoid giving retirement benefits to

plaintiffs because it knew plaintiffs were reaching retirement age, were alerted that plaintiffs may

be entitled to benefits when some of the plaintiffs applied for and received unemployment, knew

it would be subject to an IRS audit regarding its classification of plaintiffs as independent

contractors, and justified the amendment on the basis that it desired to “clarify that certain classes

of Employees are not eligible to participate in the Plan.” Pls.’ CSF ¶ 15, citing Doolittle Decl.,

Ex. 1 at 91; Ex. 2 at 121.

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        Contrary to plaintiffs’ argument, the amendment clarifying eligibility criteria does not

violate ERISA’s prohibition on excluding employees on the basis of years of service. Nothing in

the Plans conditions eligibility on years of service. In addition, the 2004 amendment to the Plans

did not change plaintiffs’ status–they were ineligible for benefits before and after the amendment.

In sum, there is no basis on which to conclude that plaintiffs were excluded because of their

length of service to NWN.

        Accordingly, because plaintiffs fail to raise a material issue of fact as to the eligibility

criteria, or how those eligibility criteria were applied, defendants are entitled to summary

judgment on this claim.

                                           CONCLUSION

        For the foregoing reasons, defendants’ Motion for Summary Judgment (#136) is granted.

Defendants’ Motion to Dismiss (#128) is moot. Defendants are entitled to judgment on

plaintiffs’ third and fourth claims for relief.

        IT IS SO ORDERED.

        Dated this        2nd               day of May, 2007.


                                                   /s/ Garr M. King
                                                  Garr M. King
                                                  United States District Judge




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